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                   Exhibit D
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                               }
                           ]
                      },
                      {
                           "id": "e5df77d7-847a-493f-8737-03aedbf144e4",

                           "type": "message",
                           "timestamp": "2022-12-21T02:07:06.000",
                           "deleted": false,
                           "blocks": [
                               {
                                   "text": "Lawyering up. Suing this mfker into the
            ground"
                               }
                           ]
                      },
                      {
                           "id": "b9cbed21-2a45-4a2a-9718-9ca38101c44f",
                                                      ",
                           "type": "message",
                           "timestamp": "2022-12-21T02:11:37.000",
                           "deleted": false,
                           "blocks": [
                               {
                                   "text": "Then everything will come out, court docs
            Public"
                               }
                           ]
                      },
                      {
                           "id": "e4aa9817-5836-480b-b2a3-06b6bf7fa5de",

                        "type": "message",
                        "timestamp": "2022-12-21T02:11:47.000",
                        "deleted": false,
                        "blocks": [
                            {
                                "text": "So everyone will see what happened for better
            or for worse"
                            }
                        ]
                    },
                    {
                        "id": "318f8e69-688d-4d3e-bcaa-0695af6d9e0b",

                           "type": "message",
                           "timestamp": "2022-12-21T02:14:24.000",
                           "deleted": false,
                           "blocks": [
                               {
                                   "text": "Perfect"
                               }
                           ]
                      },




CONFIDENTIAL This "CONFIDENTIAL" designation has been voluntarily removed by Plaintiff.           PAUL_CZ00006773
